
PER CURIAM.
Upon consideration of the appellants’ response to the Court’s order of December 29, 2004, the Court has concluded that the order on appeal is not a final order. Specifically, because the lower tribunal reserved jurisdiction to determine the amount of interest due on the tax refund, judicial labor with regard to that non-collateral issue remains, and the order is consequently nonfinal. See generally S.L.T. Warehouse Co. v. Webb, 304 So.2d 97, 100 (Fla.1974); see also Dwain’s Foodland v. Cincinnati Ins. Co., 738 So.2d 477 (Fla. 1st DCA 1999). Accordingly, the appeal is hereby dismissed for lack of jurisdiction.
ERVIN, WOLF, and WEBSTER, JJ., concur.
